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                                  UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA

18-cv-048645-EMC                 IN RE TESLA SECURITIES LITIGATION

                               TRIAL SHEET, EXHIBIT and WITNESS LIST

JUDGE:                                 PLAINTIFF’S ATTORNEY:                DEFENSE ATTORNEYS:
                                                                            Alexander Spiro, Andrew
                                                                            Rossman, Phillip Jobe, Ellyde
                                       Nicholas Porritt, Elizabeth Tripodi,
                                                                            Thompson, Jesse Bernstein,
Edward M. Chen                         Alexander Krot, Joseph Levi,
                                                                            Michael Lifrak, Anthony Alden,
                                       Adam Apton
                                                                            Matthew Alexander Bergjans,
                                                                            William Price
TRIAL DATE:                            REPORTERS:                           CLERK:
January 31, 2023                       Belle Ball/ Debra Pas                Vicky Ayala

PLF     DEF        TIME
NO.     NO         OFFERED        ID    ADM DESCRIPTION
                   8:07 a.m.                    Court in session. Housekeeping matters discussed outside the
                                                presence of the jury. The Court heard argument on the parties’
                                                objections to the evidence slated for January 31. The Court
                                                first noted that it would issue written rulings regarding the
                                                objections shortly. The Court then explained that generally it
                                                was not appropriate to include summaries of arguments on
                                                exhibits. Plaintiff’s slides that quoted from analyst reports and
                                                news articles, for instance, were demonstratives, not exhibits.
                                                The Court noted charts with voluminous data, on the other
                                                hand, could arguably fall within the spirit of Federal Rule of
                                                Evidence 1006; the Court raised its concern as a pragmatic
                                                matter with expecting the jury to take notes on data-filled
                                                slides. Counsel for Defendants argued that the slides of data
                                                were outside the scope of Rule 1006 and therefore could only
                                                be used as demonstratives. The parties then discussed whether
                                                the jury could ask for demonstratives during their deliberations.
                                                The parties noted that the order of witnesses would be Mr.
                                                Arnold, Professor Heston, and then Professor Hartzmark. The
                                                Court then indicated that it would allow use of the slides as
                                                demonstratives and would reserve ruling on the question of
                                                whether the slides could be admitted as exhibits. Counsel for
                                                Defendants informed the Court that they may not call an
                                                expert. Counsel also informed the Court that one of the
                                                Director Defendants, Ms. Johnson Rice, was visually impaired
                                                and ill and would like to testify remotely. Counsel for Plaintiff
                                                had no objection to Ms. Johnson Rice testifying remotely. The
                                                Court instructed the parties to work with the Courtroom Deputy
                                                to handle those logistics




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                                     Counsel for Defendants then argued that Exhibit 171 should be
                                     redacted and reraised his objections to Exhibit 342. Counsel
                                     for Plaintiff responded that Exhibit 342 would not be used
                                     during Mr. Arnold. Counsel for Defendants noted that during a
                                     break they had been informed that Exhibit 303 was also being
                                     withdrawn as to Mr. Arnold. Defendants asked for two
                                     sentences in Exhibit 171 to be redacted. The Court ruled that
                                     these two sentences should be redacted under Rule 403.
                                     Counsel for Plaintiff withdrew the exhibit of the appendix of
                                     articles from Professor Hartzmark’s report. The Court noted
                                     that in its forthcoming evidentiary rulings, it had largely
                                     overruled the objections to analyst reports because they were
                                     relevant for a non-hearsay purpose. Counsel for Defendants
                                     argued that the August 7 CNBC video exhibit was inadmissible
                                     because it was highly prejudicial. The Court overruled
                                     Defendants’ objections because the video was relevant insofar
                                     as it showed a slice of the market and under the effect on the
                                     listener theory. The parties informed the Court that they would
                                     confer regarding any undisputed facts that could be added into
                                     the jury instructions. Counsel for Plaintiff proposed that any
                                     demonstratives used at closings be disclosed on Wednesday
                                     morning. The Court informed the parties that its usual
                                     disclosure rules apply to both exhibits and demonstratives.
                                     When Defendants’ counsel responded that he would have a
                                     difficult time providing his demonstratives by Wednesday
                                     morning, the Court noted that he could provide them on
                                     Wednesday afternoon instead.
               8:45 a.m.             Jury present.
               8:46 a.m.             Witness, David Arnold approached the witness stand and
                                     sworn for testimony. Direct examination of witness by Adam
                                     Apton.
504                         X   X    Email from Deepak Ahuja to Dave Arnold dated 8/7/2018 re
                                     Privileged Draft Email/Blog Post.
505                         X   X    Draft Blog Post, dated 8/7/2018. Attachment to Exhibit 504
511                         X   X    Email from Todd Maron to Philip Rothenberg dated 8/7/18 re
                                     Statement from Board.
               8:58 a.m.             Cross-examination of witness by Ellyde Thompson.
      298                   X   X    Email from Dave Arnold to Deepak Ahuja dated 8/7/2018 re
                                     FT Article Re Saudi Investment in Tesla.
               9:05 a.m.             Re-direct examination of witness by Adam Apton.
               9:06 a.m.             Witness excused.
               9:20 a.m.             Witness, Steven Heston approached the witness stand and
                                     sworn for testimony. Direct examination of witness by
                                     Nicholas Porritt.
               10:01 a.m.            Cross-examination of witness by Andrew Rossman.
               10:27 a.m.            Re-direct examination of witness by Nicholas Porritt.
               10:30 a.m.            Re-cross examination of witness by Andrew Rossman.
               10:32 a.m.            Witness excused.


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   10:33 a.m.            Jury excused for break. Housekeeping matters discussed
                         outside the presence of the jury. Counsel for Plaintiff provided
                         the Court with his just-filed brief regarding the admissibility of
                         certain slides under Rule 1006. Counsel for Defendants
                         informed the Court that they would submit their own brief
                         shortly.
   10:38 a.m.            Court in recess.
   10:56 a.m.            Court reconvened.
   11:01 a.m.            Jury present.
   11:02 a.m.            Witness, Michael Hartzmark, approached the witness stand
                         and sworn for testimony. Direct examination of witness by
                         Nicholas Porritt.
   12:40 p.m.            Jury excused for break.
   12:41 p.m.            Court in recess.
   1:05 p.m.             Court reconvened.
   1:10 p.m.             Jury present.
   1:11 p.m.             Cross-examination of witness by Andrew Rossman.
   2:02 p.m.             Witness excused for the day.
   2:02 p.m.             Jury excused. Housekeeping matters discussed outside the
                         presence of the Jury. Plaintiff informed the Court that
                         Professor Hartzmark was Plaintiff’s last witness. Counsel for
                         Defendants indicated that they would eventually request some
                         sort of remedy from the Court based on Professor Hartzmark’s
                         reference to the Court’s summary judgment ruling. Counsel for
                         Defendants informed the Court that they planned to call Sam
                         Teller and the other four Directors who had not yet testified
                         tomorrow morning. The Courtroom Deputy informed the
                         parties that Plaintiff had used 16:26 hours and Defendants had
                         used 14:22 hours. Based on the time remaining, the parties and
                         the Court agreed that they would complete evidence tomorrow.
                         The Court informed the parties that they should make any Rule
                         50(a) motions at the close of their case, but that the Court did
                         not want the timing of any Rule 50(a) motion to get in the way
                         of jury deliberations. Counsel for Defendants indicated that the
                         Court may be able to deliver closing instructions to the jury
                         tomorrow. The parties informed the Court that they would
                         provide stipulations of fact shortly. Plaintiffs moved to admit
                         Exhibits 338, 429, 565, 570, 572, 594, 721 and 763.
                         Defendants objected; Court overruled. Exhibits deemed
                         admitted. Plaintiffs moved to admit Heston Slide 7 and
                         Hartzmark Slides 11, 12, 22, 24, 46, 57, 52, and 55. The Court
                         reserved ruling on the question of whether the Heston and
                         Hartzmark slides could be admitted as exhibits instead of
                         demonstratives. The Courtroom Deputy and the parties agreed
                         to coordinate with IT to prepare for Ms. Johnson Rice’s remote
                         testimony tomorrow. The Court instructed Counsel for
                         Defendants to file their response to Plaintiff’s four proposed
                         supplemental jury instructions by 4:30pm that day.
   2:17 p.m.             Court adjourned.

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